      Case 3:07-cr-00040-RLY-CMM                           Document 413               Filed 07/30/15         Page 1 of 2 PageID #:
                                                                 1218
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                        Saul Munoz-Aniles                                  )
                                                                           )    Case No: 3:07CR00040-001
                                                                           )    USM No: 08969-028
Date of Original Judgment:                            01/22/2010           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Munoz-Aniles was sentenced to the mandatory minimum term of imprisonment for Count 1 (120 months);
    therefore, he is not eligible for a reduction pursuant to Amendment 782.




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.
Order Date:                7/30/2015
                                                                                   ________________________________
                                                                                   LARRY J. McKINNEY, JUDGE
Effective Date:                                                                    United States District Court
                     (if different from order date)
                                                                                   Southern District of Indiana
Case 3:07-cr-00040-RLY-CMM       Document 413   Filed 07/30/15   Page 2 of 2 PageID #:
                                       1219



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